  Case 1:20-cv-01465-MN Document 5 Filed 12/10/20 Page 1 of 1 PageID #: 133




               IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF DELAWARE

ROBERT MICHAELSON OF          :
ADVISORY TRUST GROUP, LLC, IN :
HIS CAPACITY AS DEBTOR        :
REPRESENTATIVE AND            :
LIQUIDATING TRUSTEE,          :              C.A. No. 1:20-cv-01465-MN
                              :
              Plaintiff,      :              JURY TRIAL DEMANDED
          v.                  :
                              :
PETER BARONOFF, KEITH REUBEN, :
BRIAN DUNN, DAVID             :
ARMSTRONG, JAMES HOPWOOD,     :
RICHARD GOLD, BRYAN DAY,      :
STAN GRABISH, RICHARD COHEN   :
STEVEN HELLAND, MALINDA       :
BARONOFF, SHANNA BARONOFF,    :
and JOHN DOES 1-100,          :
                              :
               Defendants.

                        NOTICE OF APPEARANCE

        PLEASE ENTER the appearances of Marc S. Casarino, Esquire and Kelly

E. Rowe, Esquire of the law firm White and Williams LLP, on behalf of Defendant

David Armstrong in the above-captioned matter.

Dated: December 10, 2020            WHITE AND WILLIAMS LLP

                                    /s/   Marc S. Casarino
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